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                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF OHIO
                                           WESTERN DIVISION at CINCINNATI

       In re    Albert L White                              )             Case No.    19-10332
                Cindy A Stieg                               )
                                                            )            Chapter 13
                                                            )            Judge        Beth A. Buchanan
                              Debtor(s)
                                                     CHAPTER 13 PLAN
       1. NOTICES
      The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form
      309I) will be sent separately.

      This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule ("LBR") 3015-1.
      "Debtor" means either a single debtor or joint debtors as applicable. "Trustee" means Chapter 13 Trustee. Section
      "§" numbers refer to sections of Title 11 of the United States Bankruptcy Code. "Rule" refers to the Federal Rules
      of Bankruptcy Procedure.

      Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
                   Debtor                                       is not eligible for a discharge.
                   Joint Debtor                                      is not eligible for a discharge.

           Initial Plan
           Amended Plan The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan
       and must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
       adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule
       2002(a)(9). Any changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly
       reflected in bold, italics, strike-through or otherwise in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
       If an item is not checked, the provision will be ineffective if set out later in the Plan.
           This Plan contains nonstandard provisions in Paragraph 13.
           The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing
           the claim. See Paragraph(s) 5.1.2 and/or 5.1.4.
           The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1 and/or, 5.4.2
           and 5.4.3.

       NOTICES TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard
       Provisions), and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
       attorney, you may wish to consult one. Except as otherwise specifically provided, upon confirmation, you
       will be bound by the terms of this Plan. Your claim may be reduced, modified, or eliminated. The Court may
       confirm this Plan if no timely objection to confirmation is filed.


      2. PLAN PAYMENT AND LENGTH
      2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $    950     per month. [Enter step
      payments below, if any.] The Debtor shall commence payments within thirty (30) days of the petition date.
                                     Then step up to $1,350 per month in November, 2023 for the remaining
      2.1.1 Step Payments, if any:
                                     moths of the plan




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      2.2 Unsecured Percentage
         Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of
        100 % on each allowed nonpriority unsecured claim.
        Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
      $                 . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
      allowed nonpriority unsecured claim is estimated to be no less than            %. LBR 3015-1(c)(2).

      2.3 Means Test Determination
         Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
               length of the plan must be a minimum of thirty-six (36) months but not to exceed sixty (60)
               months.
            Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
                  length of the Plan must be sixty (60) months.
      3. PRE-CONFIRMATION LEASE PAYMENTS AND/OR ADEQUATE PROTECTION PAYMENTS
      Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total
      plan payment to the Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by §
      1326(a)(1)(C) shall be made as part of the total plan payment to the Trustee. LBR 3070-1(b). The lessor/secured
      creditor must file a proof of claim to receive payment. LBR 3070-1(a) and (b).
                Name of Lessor/Secured Creditor             Property Description           Monthly Payment Amount
                                                                                          $


      4. SECURED CLAIMS: TREATMENT, TIMING AND SERVICE REQUIREMENTS

      4.1        Non-Governmental Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim
                 based on the value of the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2 and
                 5.1.4. Further, the Debtor may propose to eliminate or avoid a security interest or lien by the procedure
                 proposed in Paragraphs 5.4.1, 5.4.2 and 5.4.3. If the Debtor proposes to seek any of the above-stated relief
                 by way of motion or claim objection, the motion or claim objection must be filed on or before the § 341
                 meeting of creditors or the confirmation hearing may be delayed. If a judicial lien or nonpossessory,
                 nonpurchase-money security interest is discovered after confirmation of the Plan, a motion to avoid the
                 judicial lien or security interest may be promptly filed after it is discovered.

      4.2        Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a
                 governmental unit or to modify and eliminate the secured claim of a governmental unit may be made only
                 by motion or claim objection. Rule 3012(c). Any motion or claim objection that includes a request to
                 determine the amount of the secured claim of a governmental unit (including any such motion or claim
                 objection that also includes a request to determine the amount of the secured claim of a non-governmental
                 entity) may be filed only after the governmental unit files a proof of claim or after the time for filing one
                 has expired. Rule 3012, advisory committee note (2017 Amendments).

      4.3        Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2, 5.1.4, 5.4.1, 5.4.2, or
                 5.4.3, the motion, Plan or claim objection, as applicable, must be served in the manner provided by Rule
                 7004 for service of a summons and complaint. Rule 3007(a)(2), Rule 3012(b), Rule 4003(d) and General
                 Order 22-2.

       4.4       Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2, 5.1.4 and 5.4.1 will retain its lien on
                 the property interest of the Debtor or the Debtor's estate until the earlier of --(a) payment of the underlying
                 debt determined under nonbankruptcy law, (b) discharge of the underlying debt under 11 U.S.C. § 1328, or
                 (c) completion of the Plan --at which time the lien will terminate and be released by the creditor



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      5. PAYMENTS TO CREDITORS
                                           SUMMARY OF PAYMENTS BY CLASS

               Class                      Definition                         Payment/Distribution by Trustee

               Class 1                    Claims with Designated Specific Paid first in the monthly payment
                                          Monthly Payments                amount designated in the Plan
               Class 2                    Secured Claims with No        Paid second and pro rata with other
                                          Designated Specific Monthly   Class 2 claims
                                          Payments and Domestic Support
                                          Obligations (Arrearages)
               Class 3                    Priority Claims               Paid third and pro rata with other
                                                                        Class 3 claims
               Class 4                    Nonpriority Unsecured Claims       Paid fourth and pro rata with other
                                                                             Class 4 claims
               Class 5                    Claims Paid by a Non-Filing Co- Not applicable
                                          Debtor or Third Party
               Class 6                    Claims Paid by the Debtor          Not applicable


      Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the
      extent funds are available, the maximum number of Classes may receive distributions concurrently.
      Notwithstanding the above, the Trustee is authorized within the Trustee’s discretion to calculate the amount
      and timing of distributions as is administratively efficient.

      5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

      The following Class 1 claims shall be paid first in the monthly payment amount designated below. The
      plan payment is calculated in an amount that is sufficient for the Trustee to make a full monthly distribution
      on all Class 1 claims plus the statutory Trustee fee. If the Debtor makes a payment that is less than the full
      plan payment amount, the Trustee will make distributions on Class 1 claims in the order of priority set forth
      in the Bankruptcy Code.

      5.1.1 Maintenance of Regular Mortgage Payments

      Regular mortgage payments shall be calculated for payment starting the month after the filing of the
      petition. Arrearages shall be paid as Class 2 claims.
      Trustee disburse.
                                                                                    Residence Monthly Payment
            Name of Creditor            Property Address
                                                                                     (Y/N) Amount
                                                                                                $

      Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only be paid
      directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).
                                                                                    Residence Monthly Payment
            Name of Creditor            Property Address
                                                                                     (Y/N) Amount
                                                                                                $




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      5.1.2 Modified Mortgages or Liens Secured by Real Property ["Cramdown/Real Property"]

      The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s
      principal residence, (2) claims secured by other assets in addition to the Debtor’s principal residence, or (3)
      claims for which the last payment on the original payment schedule for a claim secured only by a security
      interest in real property that is the Debtor’s principal residence is due before the date on which the final
      payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
      value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority
      unsecured claim. See Paragraph 4 for more information.

            Name of Creditor /                                                           Interest      Minimum
                                          Property Address         Value of Property
            Procedure                                                                    Rate          Monthly Payment
             (Creditor)                                            $                                % $

                Motion
                Plan
                Claim Objection

      5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable
      ["910 Claims/Personal Property"]
      The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for
      the Debtor’s personal use within 910 days of the petition date or (2) personal property acquired within one year of
      the petition date. The proof of claim amount will control, subject to the claims objection process.
                                                                                                     Minimum
                                                                                                     Monthly
                                                        Purchase       Estimated         Interest
             Name of Creditor Property Description                                                   Payment
                                                        Date           Claim Amount Rate
                                                                                                     Including
                                                                                                     Interest
             Byrider Finance 2007 Chevy                  09/27/2107 $11,968                       4% $450
             LLC                Trailblazer

      5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable
      [“Cramdown/Personal Property”]
      The following claims are secured by personal property not described above in Paragraph 5.1.3. To the extent that a
      claim is in excess of the value of the property, the balance in excess of the value of the property shall be treated as a
      Class 4 nonpriority unsecured claim. See Paragraph 4 for more information.

                                                                                                          Minimum
                                                            Purchase/                                     Monthly
                 Name of Creditor /       Property                      Value of            Interest
                                                            Transaction                                   Payment
                    Procedure             Description                   Property            Rate
                                                            Date                                          Including
                                                                                                          Interest
             (Creditor)                                                    $                           % $

                Motion
                Plan
                Claim Objection




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      5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)

      If neither box is checked, then presumed to be none.
         Trustee disburse
        Debtor direct pay
      The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the
      Debtor becomes subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her
      attorney and the Trustee.
                                                                                          Monthly Payment
            Name of Holder             State Child Support Enforcement Agency, if any
                                                                                          Amount
                                                                                          $

      5.1.6 Executory Contracts and Unexpired Leases
      The Debtor rejects the following executory contracts and unexpired leases.
              Notice to Creditor of Deadline to File Claim for Rejection Damages:
              A proof of claim for rejection damages must be filed by the creditor within seventy
              (70) days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim
              shall be treated as a Class 4 nonpriority unsecured claim.

            Name of Creditor                                 Property Description



      The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the
      Court, all motor vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage
      shall be cured in monthly payments prior to the expiration of the executory contract or unexpired lease. The Debtor
      may not incur debt to exercise an option to purchase without obtaining Trustee or Court approval. LBR 4001-3.

      Trustee disburse.

                                                Regular Number of                                     Contract/
                                                                  Monthly        Estimated
               Name of      Property            Payments                                              Lease
                                                                  Contract/Lease Arrearage as of
               Creditor     Description         Remaining as of                                       Termination
                                                                  Payment        Petition Date
                                                Petition Date                                         Date

                                                                        $             $

      Debtor direct pay.

                                                Regular Number of                                     Contract/
                                                                  Monthly        Estimated
               Name of      Property            Payments                                              Lease
                                                                  Contract/Lease Arrearage as of
               Creditor     Description         Remaining as of                                       Termination
                                                                  Payment        Petition Date
                                                Petition Date                                         Date

                                                                        $             $




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      5.1.7 Administrative Claims
      The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional
      attorney fees beyond those set forth below will be paid after the attorney fees set forth below and in the same
      monthly amount as set forth below. LBR 2016-1(b).
                                                                  Amount to be Disbursed by    Minimum Monthly
            Name of Claimant              Total Claim
                                                                  Trustee                      Payment Amount
            Harry B Zornow                $3,700                  $3,000                       440


      5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND
      DOMESTIC SUPPORT OBLIGATIONS (ARREARAGES)

      5.2.1 Secured Claims with No Designated Monthly Payments
      The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
      certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
      process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.

            Name of Creditor                                  Estimated Amount of Claim
                                                              $

      5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)

        Trustee disburse
        Debtor direct pay
      The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a
      governmental unit and the estimated arrearage amount shall be listed below.

            Name of Holder              State Child Support Enforcement Agency, if any Estimated Arrearage

                                                                                           $

      5.3 CLASS 3 - PRIORITY CLAIMS
      Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims under §
      507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third and shall be paid
      pro rata with other Class 3 claims.
      5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS
      Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
      shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.




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      5.4.1 Wholly Unsecured Mortgages/Liens
      The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d
      663 (6th Cir. 2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on
      the Court’s website at www.ohsb.uscourts.gov.

                    Name of Creditor / Procedure                                  Property Address

                    (Creditor)

       1               Motion
                       Plan

                                                                                                               Amount of Wholly
                                          SENIOR Mortgages/Liens
            Value of Property                                                                                  Unsecured
                                          (Amount/Lienholder)
                                                                                                               Mortgage/Lien
            $                             $                   (Lienholder)                             +       $
       1
                                                                                                       X C

      5.4.2 Judicial Liens Impairing an Exemption in Real Property

      The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)
      (A). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court’s
      website at www.ohsb.uscourts.gov.

                     Name of Creditor / Procedure Property Address                    Value of Property Exemption
                      (Creditor)                                                       $                           $
                                                                                                                   Statutory Basis
        1                   Motion                                                     Debtor's Interest
                                                                                                                   §
                            Plan                                                       $

                                     OTHER Liens or Mortgages                                               Amount of Judicial
                                                                                      Judicial Lien
                                     (Amount/Lienholder Name)                                               Lien to be Avoided
                $                       (Lienholder)                         +    $                        $
                                                                             X C Recorded Date             Effective Upon:
        1



      5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property

      The following nonpossessory, nonpurchase-money security interests impair the Debtor’s exemption in personal
      property and may be avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form
      motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.
                Name of Creditor /         Property                                                        Amount of Security
                                                             Value of Property Exemption
                Procedure                  Description                                                     Interest to be Avoided
                (Creditor)                                   $                    $                        $

                                                                                  Statutory Basis          Effective Upon:
                     Motion
                                                                                  §
                     Plan




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      5.4.4 Mortgages to be Avoided Under 11 U.S.C. § 544
      The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims.
      The Debtor or the Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided.
      To the extent that the Trustee has standing to bring such action, standing is hereby assigned to the Debtor, provided
      a colorable claim exists that would benefit the estate.
            Name of Creditor                   Action to be Filed By       Address of Property

                                                   Debtor
                                                   Trustee

      5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY
      The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor
      or third party.

            Name of Creditor                                        Name of Payor



      5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR
      The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.

            Name of Creditor                                           Monthly Payment Amount

                                                                       $


      6. SURRENDER OF PROPERTY
      The Debtor elects to surrender to the creditor the following property that is collateral for the creditor’s claim. Upon
      confirmation of the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the
      surrendered property only. Rule 3015(g)(2).

               Name of Creditor                              Description of Property




      7. INTEREST RATE
      Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims
      treated in paragraph 5.1.1, secured claims shall be paid interest at the annual percentage rate of 4     % based
      upon a declining monthly balance on the amount of the allowed secured claim. Interest is included in the monthly
      payment amount. See Till v. SCS Credit Corp. (In re Till), 541 U.S. 465 (2004).

         This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in
                 full with interest at        % from the date of confirmation. If this box is not checked, the
                 estate is presumed to be insolvent.




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      8. FEDERAL INCOME TAX RETURNS AND REFUNDS

      8.1 Federal Income Tax Returns

      If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed
      during the Plan term by April 30 of each year.

      8.2 Federal Income Tax Refunds

      Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income
      tax credit and additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and
      support pursuant to § 1325(b)(2) and shall turnover any balance in excess of such amount to the Trustee. Unless
      otherwise ordered by the Court, tax refunds turned over to the Trustee shall be distributed by the Trustee for the
      benefit of creditors. Any motion to retain a tax refund in excess of the amount set forth above shall be filed and
      served pursuant to LBR 9013-3(b).
       9. OTHER DUTIES OF THE DEBTOR
       9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

      The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with
      the Court in the event of any change of the Debtor’s address, employment, marital status, or child or spousal
      support payments.

      9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance, or
      Any Other Amount

      The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property
      regarding personal injury, workers compensation, buyout, severance package, lottery winning, inheritance, or any
      other funds to which the Debtor may be entitled or becomes entitled to receive. Before the matter can be settled and
      any funds distributed, the Debtor shall comply with all requirements for filing applications or motions for
      settlement with the Court as may be required by the Bankruptcy Code, the Bankruptcy Rules or the Local
      Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the Trustee for the
      benefit of creditors.

      9.3 Social Security

      The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

      10. INSURANCE

      10.1 Insurance Information

      As of the petition date, the Debtor's real and personal property is insured as follows.

             Property Address/                                 Policy                           Agent Name/Contact
                                        Insurance Company                    Full/Liability
             Description                                       Number                           Information
             2007 Chevy Trailblazer      State Farm             35-2692-      Full              Annette Snowden
                                                                C54                             513-896-1100




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      10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)
      If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the
      Debtor shall have the option to use the insurance proceeds to either (1) pay off the balance of the secured claim
      through the Trustee if the secured creditor is a named loss payee on the policy or (2) upon order of the Court,
      substitute the collateral by purchasing a replacement motor vehicle. If a replacement motor vehicle is purchased,
      the motor vehicle shall have a value of not less than the balance of the unpaid secured claim, the Debtor shall
      ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall continue to
      pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after
      paying the secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

      11. EFFECTIVE DATE OF THE PLAN

      The effective date of the Plan is the date on which the order confirming the Plan is entered.
      12. VESTING OF PROPERTY OF THE ESTATE

      Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The
      Debtor shall remain responsible for the preservation and protection of all property of the estate.

        Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b) and (c).
        Other
      13. NONSTANDARD PROVISIONS
      The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of
      the Debtor. Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules,
      the Local Bankruptcy Rules or the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere
      in this Plan is void and shall have no binding effect.

            Nonstandard Provisions
             ABOVE MEDIAN INCOME

             Current monthly income (CMI) minus means test expenses (IRS amounts) = Disposable income (D/I)
             D/I (line 45 of the means test) $ 1,984.37 TIMES 60 = $119,062.20

             In re: Lanning 130 S.Ct. 2464, 177 L.Ed.2d 23 (2010) Circumstances:
             Debtor(s) are unable to meet the disposable income amount to unsecured creditors because …..
             (fill in a reasonable explanation). Debtor(s) will provide tax returns and paystubs to counsel by April
             15th of every year. Counsel will file a Status Report on Debtor(s)’ income and state whether
             Lanning circumstances still exist by April 30th of every year, and file amended schedules I, J and
             Motion to Modify Plan if income increases. This is a 60 month plan.




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      By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the
      wording and order of provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13
      Plan adopted in this District and (2) this Plan contains no nonstandard provisions other than those set forth in
      Paragraph 13.
      Debtor’s Attorney

      Date:02/01/19

                                                                      /s/ Harry B Zornow
                                                                          Harry B Zornow 00220245
                                                                          Harry B Zornow, Attorny At Law
                                                                          860 NW Washington Blvd, STE J
                                                                          Hamilton, Ohio 45013
                                                                      Ph:513-737-9770
                                                                      Fx: 888-241-6246
                                                                          zornowlaw@gmail.com


      Debtor                                                          Joint Debtor
       /s/ Albert White                                               /s/ Cindy A Stieg

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                              NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

                 Debtor has filed a Chapter 13 Plan or an Amended Chapter 13 Plan (collectively, the “Plan”).

                Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if
        you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

                  If you do not want the Court to confirm the Plan, you must file an objection to the Plan within the
        later of: 1) fourteen (14) days after the § 341 meeting of creditors is concluded; OR 2) twenty-one (21) days
        from the date set forth in the certificate of service of this Plan. If a timely objection to the Plan is filed within
        seven (7) days of the confirmation hearing date, the confirmation hearing will be rescheduled. Rule 3015(f).

                 Your objection to the Plan, explaining your position, must be filed with the Court and mailed by
        ordinary U.S. Mail to the United States Bankruptcy Court
                                Atrium Two Suite 800, 221 East Fourth Street, Cincinnati OH 45202
        OR your attorney must file the objection using the Court’s ECF System.

                 The Court must receive your objection on or before the applicable deadline above.

                 You must also send a copy of your objection either by 1) the Court’s ECF System or by 2) ordinary
        U.S. Mail to:
        Albert White
        Cindy A Stieg
        3341 Stathem Ave #2
        Cincinnati, Ohio 45211

        Harry B Zorow
        860 NW Washington Blvd, STE J
        Hamilton, Ohio 45013
        Margaret Burks, Chapter 13 Trustee
        600 Vine Street, STE 200
        Cincinnati, Ohio 45202
        and the United States trustee.


                 If you or your attorney does not take these steps, the Court may decide that you do not oppose the terms
        of the Plan and may enter an order confirming the Plan without further hearing or notice.




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                                                     Certificate of Service

               I hereby certify that a copy of the foregoing Plan was served (i) electronically on the date of filing
      through the court’s ECF System on all ECF participants registered in this case at the email address registered with
      the Court and (ii) by ordinary U.S. Mail on 02/01/19 addressed to:


              VIA CERTIFICATE OF SERVICE

      and (iii) by method of service as required by Bankruptcy Rule 7004 First Class Mail

              Craig Peters, President
              Byrider Finance LLC
              12802 Hamilton Crossing Blvd
              Carmel, IN 46032

              Jeffrey B Higgins, Registerd Agent
              Byrider Finance LLC
              12802 Hamilton Crossing Blvd
              Carmel, IN 46032


                                                                     /s/ Harry B Zornow
                                                                         Harry B Zornow
                                                                         860 NW Washington Blvd, STE J
                                                                         Hamilton, Ohio 45013
                                                                     Ph:513-737-9770
                                                                     Fx: 888-241-6246
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